22-10910-shl        Doc 131        Filed 08/15/22 Entered 08/15/22 16:18:56                     Main Document
                                                Pg 1 of 3
                                Hearing Date: August 31, 2022 at 11:00 a.m., Prevailing Eastern Time
                            Objection Deadline: August 24, 2022 at 4:00 p.m., Prevailing Eastern Time

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Proposed Counsel to the Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

--------------------------------------------------------------- X
                                                                :
In re                                                           : Chapter 11
                                                                :
MADISON SQUARE BOYS & GIRLS CLUB, INC.1, : Case No. 22-10910-shl
                                                                :
                           Debtor.                              :
                                                                :
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     NOTICE OF HEARING ON THE OFFICIAL COMMITTEE OF UNSECURED
    CREDITORS’ APPLICATION TO RETAIN AND EMPLOY PACHULSKI STANG
       ZIEHL & JONES LLP AS COUNSEL EFFECTIVE AS OF JULY 16, 2022

        PLEASE TAKE NOTICE that on August 15, 2022, the Official Committee of
Unsecured Creditors appointed in the above-captioned case (the “Committee”) filed the
Application to Retain and Employ Pachulski Stang Ziehl & Jones LLP as Counsel Effective as of
July 16, 2022 (the “Application”) with the United States Bankruptcy Court for the Southern
District of New York.

       PLEASE TAKE FURTHER NOTICE that the Application will be heard before the
Honorable Sean H. Lane, United States Bankruptcy Judge, United States Bankruptcy Court for
the Southern District of New York, 300 Quarropas Street, White Plains, New York 10601 at a



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The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is 250
Bradhurst Avenue, New York, New York 10039.


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22-10910-shl       Doc 131   Filed 08/15/22 Entered 08/15/22 16:18:56            Main Document
                                          Pg 2 of 3



hearing scheduled for August 31, 2022, at 11:00 a.m., prevailing Eastern Time (the
“Hearing”), or at such other time as the Court may determine.

        PLEASE TAKE FURTHER NOTICE that in accordance with General Order M-543
dated March 20, 2020, the Hearing will be conducted remotely via Zoom for Government.
Parties wishing to appear at the Hearing, whether in a “live” or “listen only” capacity, must make
an electronic appearance through the “eCourtAppearances” tab on the Court’s
https://www.nysb.uscourts.gov/ecourt-appearances no later than 4:00 p.m. on the business day
before the Hearing (the “Appearance Deadline”). Following the Appearance Deadline, the Court
will circulate by email the Zoom link to the Hearing to those parties who have made an
electronic appearance. Parties wishing to appear at the Hearing must submit an electronic
appearance through the Court’s website by the Appearance Deadline and not by emailing or
otherwise contacting the Court. Additional information regarding the Court’s Zoom and hearing
procedures can be found on the Court’s website.

       PLEASE TAKE FURTHER NOTICE that any responses or objections (each, an
“Objection”) to the relief requested in the Application shall: (a) conform to the Federal Rules of
Bankruptcy Procedure, the Local Bankruptcy Rules for the Southern District of New York, and
all General Orders applicable to chapter 11 cases in the United States Bankruptcy Court for the
Southern District of New York; and (b) be served so as to be actually received by August 24,
2022 at 4:00 p.m., prevailing Eastern Time (the “Objection Deadline”). Replies to the
Objections must be filed by August 29, 2022 at 4:00 p.m., prevailing Eastern Time.

       PLEASE TAKE FURTHER NOTICE that if no Objections are timely filed and served
with respect to the Application on or after the Objection Deadline, submit to the Bankruptcy
Court orders substantially in the form of the proposed orders annexed to the Application, which
orders may be entered with no further notice or opportunity to be heard.

        PLEASE TAKE FURTHER NOTICE that the Hearing may be continued or adjourned
thereafter from time to time without further notice other than an announcement of the adjourned
date or dates at the Hearing or at a later hearing. An agenda may be filed before the Hearing,
which may modify or supplement the Application to be heard at the Hearing.

        PLEASE TAKE FURTHER NOTICE that a copy of the Application can be viewed
and/or obtained by: (i) accessing the Court’s website at www.nysb.uscourts.gov, or (ii) from the
Debtor’s proposed claims and noticing agent Epiq Corporate Restructuring, LLC, at
https://dm.epiq11.com/case/madisonsquare/info or by calling (866) 977-1161 (toll free) for U.S.




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DOCS_SF:107781.1
22-10910-shl       Doc 131   Filed 08/15/22 Entered 08/15/22 16:18:56        Main Document
                                          Pg 3 of 3



and Canada-based parties or +1 (503) 597-7709 for international parties. Note that a PACER
password is needed to access documents on the Court’s website.

 Dated: August 15, 2022               PACHULSKI STANG ZIEHL & JONES LLP

                                      /s/ John W. Lucas
                                      James I. Stang, Esq. (pro hac vice)
                                      John W. Lucas, Esq.
                                      Malhar S. Pagay, Esq. (pro hac vice pending)
                                      Gillian N. Brown, Esq.
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                                      Proposed Counsel to the Official Committee of
                                      Unsecured Creditors




                                              3
DOCS_SF:107781.1
